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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION

                                 CASE NO. 14-24887-MC- LOUIS

  IN RE APPLICATION OF
  HORNBEAM CORPORATION

  REQUEST FOR DISCOVERY PURSUANT
  TO 28 U.S.C. § 1782
                                /

                         ORDER GRANTING MOTIONS TO FILE UNDER SEAL

          This cause comes before the Court on Subpoena Respondents’, CC Metals and Alloys,

  LLC, Felman Production, LLC, Felman Trading, Inc., Georgian American Alloys, Inc.,

  Mordechai Korf, Optima Acquisitions, LLC, Optima Group, LLC, Optima Fixed Income, LLC,

  Optima Ventures, LLC, Optima International of Miami, Inc., and 5251 36ST, LLC’s (“Subpoena

  Respondents”) Unopposed Motion to File Composite Exhibit Under Seal (301); and Applicant

  Hornbeam Corporation’s Motion to Seal (ECF No. 300).

          Both motions are unopposed and represent that the subject materials are required for the

  resolution of their respective motions, anticipated for filing today. Accordingly it is herby

  ORDERED and ADJUDGED that both Motions are GRANTED.

          It is further ORDERED that the sealed exhibits shall remain under seal for one year,

  until November 30, 2019.

          DONE AND ORDERED in Chambers this 30th day of November, 2018, in the Southern

  District of Florida.


                                              The Honorable Lauren F. Louis
                                              United States Magistrate Judge
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  Copies furnished:
  All counsel of record




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